                    Case 23-42058                  Doc 1             Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                                       Document Page 1 of 85
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Eastern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Edward
       Write the name that is on your         First name                                                      First name
       government-issued picture               Roland
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Hutson
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as
       names.                                 Last name                                                       Last name

       Do NOT list the name of any             Adriana Hutson
       separate legal entity such as a        Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 1           2    0   1                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
                    Case 23-42058               Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                                Document Page 2 of 85
 Debtor 1            Edward              Roland                      Hutson                                         Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                   -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          353 Tavenner Lane
                                          Number            Street                                        Number           Street




                                          Sunnyvale, TX 75182
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Dallas
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ❑ Over the last 180 days before filing this petition, I         ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ✔ I have another reason. Explain.
                                          ❑                                                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)

                                                   This forum is the most convenient for both the

                                                   Debtor and Debtor's counsel.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                    Case 23-42058          Doc 1           Filed 10/30/23 Entered 10/30/23 17:30:10                             Desc Main
                                                             Document Page 3 of 85
 Debtor 1           Edward             Roland                  Hutson                                         Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
                    Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                               Document Page 4 of 85
 Debtor 1           Edward                 Roland                  Hutson                                         Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 23-42058           Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                            Document Page 5 of 85
 Debtor 1           Edward              Roland                  Hutson                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                    Case 23-42058            Doc 1          Filed 10/30/23 Entered 10/30/23 17:30:10                                        Desc Main
                                                              Document Page 6 of 85
 Debtor 1           Edward              Roland                     Hutson                                              Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔ I received a briefing from an approved credit counseling
                                        ❑                                                                     ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑ I received a briefing from an approved credit counseling            ❑ I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑ I certify that I asked for credit counseling services from an       ❑ I certify that I asked for credit counseling services from an
      again.
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑ I am not required to receive a briefing about credit                ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental                     ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                               realizing or making rational decisions                                realizing or making rational decisions
                                                               about finances.                                                       about finances.
                                             ❑ Disability.      My physical disability causes me to be             ❑ Disability.      My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑ Active duty. I am currently on active military duty in              ❑ Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
                    Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                               Document Page 7 of 85
 Debtor 1           Edward                Roland                   Hutson                                           Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Edward Roland Hutson
                                       Edward Roland Hutson, Debtor 1
                                       Executed on 10/30/2023
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                    Case 23-42058               Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                                Document Page 8 of 85
 Debtor 1           Edward                  Roland                  Hutson                                         Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Robert T DeMarco                                                 Date 10/30/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Robert T DeMarco
                                                  Printed name

                                                  DeMarco Mitchell, PLLC
                                                  Firm name

                                                  500 N. Central Expressway Suite 500
                                                  Number       Street



                                                  Plano                                                            TX      75074
                                                  City                                                             State   ZIP Code



                                                  Contact phone (972) 578-1400                       Email address robert@demarcomitchell.com


                                                  24014543                                                         TX
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
                  Case 23-42058                       Doc 1            Filed 10/30/23 Entered 10/30/23 17:30:10                                                    Desc Main
                                                                         Document Page 9 of 85
 Fill in this information to identify your case and this filing:

  Debtor 1                 Edward                       Roland                       Hutson
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Eastern                   District of            Texas

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Homestead                                        ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                 353 Tavenner Lane
                                                                  ❑ Land
                Sunnyvale, TX 75182                               ❑ Investment property                                                              $830,000.00                $830,000.00

                City        State                ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Dallas                                                                                                                 a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ❑ Debtor 1 only                                                       Fee Simple
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                                                                                            (see instructions)
                                                                  ✔ At least one of the debtors and another
                                                                  ❑
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: HOMESTEAD PH 6 2: BLK C LT 28



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                $830,000.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
                Case 23-42058                        Doc 1            Filed 10/30/23 Entered 10/30/23 17:30:10                                                    Desc Main
                                                                       Document Page 10 of 85
Debtor Hutson, Edward Roland                                                                                                Case number (if known)



       3.1     Make:                           Jeep              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               LL
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2015              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            99187
                                                                 ❑ Check if this is community property (see                                           $18,500.00                 $18,500.00
               Other information:                                     instructions)




       If you own or have more than one, describe here:

       3.2     Make:                           Lexus             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                               GX 460
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2023              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            5000
                                                                 ❑ Check if this is community property (see                                             unknown                   unknown
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ❑ No
       ✔ Yes
       ❑

       4.1     Make:                           Regal             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               LS4
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2022              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see                                           $85,000.00                 $85,000.00
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                               $103,500.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    See Attached.                                                                                                                          $9,450.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
              Case 23-42058                 Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                      Desc Main
                                                          Document Page 11 of 85
Debtor Hutson, Edward Roland                                                                         Case number (if known)



 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            5 TV's-$760.
                                    Receiver-$400.
                                                                                                                                                   $1,860.00
                                    4 cell phones-$400.
                                    Computer/printers-$200.
                                    Gaming system-$100.

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Musical instruments-$150.
                                                                                                                                                    $750.00
                                    5 bicycles-$500.
                                    Basketball hoop-$100.

 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Clothing                                                                                                        $600.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Wedding ring-$400.
                                    Sunglasses-$50.                                                                                                 $750.00
                                    Watches-$100.
                                    Costume Jewelry-$200.00

 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                            Debtor has two dogs as family pets, sentimental value only.                                                       $0.00




Official Form 106A/B                                                Schedule A/B: Property                                                           page 3
                  Case 23-42058                              Doc 1                Filed 10/30/23 Entered 10/30/23 17:30:10                                                                    Desc Main
                                                                                   Document Page 12 of 85
Debtor Hutson, Edward Roland                                                                                                                      Case number (if known)



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                             $13,410.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................                   $60.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           Bank of America Spouse's account
                                                                                                                                                                                                                    $3.75
                                                                                               (ending in 0213)

                                             17.2. Other financial account:                    Chime
                                                                                                                                                                                                                    $6.05
                                                                                               (ending in 6422)


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              Del Hutson Designs, LLC is closed with no assets or receivables..                                                                    100.00%                          $0.00

                                              Field & Cave Outfitters, LLC is closed with no assets or                                                                             100.00%
                                                                                                                                                                                                                    $0.00
                                              receivables..

                                              Hutson Properties Holdings, LLC is closed with no assets or                                                                          100.00%
                                                                                                                                                                                                                    $0.00
                                              receivables.



Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
                Case 23-42058                      Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                                  Document Page 13 of 85
Debtor Hutson, Edward Roland                                                                        Case number (if known)



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:




Official Form 106A/B                                                       Schedule A/B: Property                                                page 5
                Case 23-42058                     Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                                    Desc Main
                                                               Document Page 14 of 85
Debtor Hutson, Edward Roland                                                                              Case number (if known)



 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................   Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ❑ No
       ✔ Yes. Give specific
       ❑                                      Shelf Patent                                                                                                unknown
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                                                                                                                    State:
                 the tax years. ...................
                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement



Official Form 106A/B                                                     Schedule A/B: Property                                                             page 6
                 Case 23-42058                           Doc 1              Filed 10/30/23 Entered 10/30/23 17:30:10                                                              Desc Main
                                                                             Document Page 15 of 85
Debtor Hutson, Edward Roland                                                                                                           Case number (if known)



       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                                                     Alimony:

                                                                                                                                                     Maintenance:

                                                                                                                                                     Support:

                                                                                                                                                     Divorce settlement:

                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                        Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                     $69.80
       for Part 4. Write that number here .................................................................................................................................


Official Form 106A/B                                                                      Schedule A/B: Property                                                                                       page 7
              Case 23-42058                  Doc 1    Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                       Document Page 16 of 85
Debtor Hutson, Edward Roland                                                                   Case number (if known)




  Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                            page 8
                 Case 23-42058                           Doc 1              Filed 10/30/23 Entered 10/30/23 17:30:10                                                              Desc Main
                                                                             Document Page 17 of 85
Debtor Hutson, Edward Roland                                                                                                           Case number (if known)



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                    page 9
                 Case 23-42058                             Doc 1              Filed 10/30/23 Entered 10/30/23 17:30:10                                                                  Desc Main
                                                                               Document Page 18 of 85
Debtor Hutson, Edward Roland                                                                                                               Case number (if known)




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                      $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                     $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔           $830,000.00


 56.   Part 2: Total vehicles, line 5                                                                              $103,500.00

 57.   Part 3: Total personal and household items, line 15                                                           $13,410.00

 58.   Part 4: Total financial assets, line 36                                                                              $69.80

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                            $116,979.80            Copy personal property total             ➔      +    $116,979.80



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                   $946,979.80




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                  page 10
              Case 23-42058            Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                Desc Main
                                                    Document Page 19 of 85
Debtor Hutson, Edward Roland                                                      Case number (if known)



                 Continuation Page

 6.             Household goods and furnishings

                 Bedroom #1-
                 Bed-$150.
                 Dresser-$75.
                 Nightstand-$50.
                 Lamp-$20.                                                                                              $295.00

                 Bedroom #2-
                 Bed-$200.
                 Desk-$30.
                 Lamp-$10.
                 Toys-$150.                                                                                             $390.00

                 Bedroom #3
                 Bed-$500.Dresser-$200.
                 nightstands-$100.
                 Chairs-$200.
                 Chest-$10.
                 Lamps-$20.                                                                                            $1,030.00

                 Books-$30.
                 Paintings-$200.
                 Framed photos-$10.
                 Flowers-$10.
                 Records-$25.                                                                                           $275.00

                 Dining room-
                 Table-$500.
                 6 chairs-$250.                                                                                         $750.00

                 Family Room-
                 Sofa-$100.
                 Toys-$120.                                                                                             $220.00

                 Garage/Attic-
                 Hand tools-$150.
                 Power tools-$200.
                 Work bench-$50.
                 Edger-$50.
                 Lawn trimmer-$50.
                 Wet/dry vac-$50.
                 Ladders-$50.
                 Luggage-$60.
                 Holiday decorations-$100.
                 Miscellaneous decorations-$200.                                                                        $960.00

                 Living room-
                 Sofa-$150.
                 3 chairs-$300.
                 2 end tables-$250.
                 Piano-$25.
                 Bookcase-$400.
                 Mirror-$100.                                                                                          $1,225.00




Official Form 106A/B                                     Schedule A/B: Property                                         page 11
              Case 23-42058             Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10                Desc Main
                                                 Document Page 20 of 85
Debtor Hutson, Edward Roland                                                   Case number (if known)



                 Continuation Page

                  Miscellaneous items-
                  Washer-$80.
                  Dryer-$90.
                  Second refrigerator-$50.
                  Vacuum-$40.
                  Linens-$50.
                  Arts & crafts-$20.
                  Stools-$200.
                  Tread Mill-$1,500.
                  Workout bike-$800.
                  Weights-$100.                                                                                     $2,930.00

                  Office/Den-
                  2 desks-$200.
                  desk chairs-$50.                                                                                   $250.00

                  Table/chairs-$400.
                  Stove-$100.
                  Refrigerator-$100.
                  Dishwasher-$100.
                  Microwave-$50.
                  Flatware-$50.
                  Dishes-$125.
                  Pots &pans-$150.
                  Glasses-$50.                                                                                      $1,125.00




Official Form 106A/B                                  Schedule A/B: Property                                         page 12
                        Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                         Desc Main
                                                                  Document Page 21 of 85
 Fill in this information to identify your case:

  Debtor 1                     Edward              Roland             Hutson
                               First Name          Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name          Middle Name       Last Name

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                  04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on              Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                      portion you own
                                                            Copy the value from      Check only one box for each exemption.
                                                            Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑           $255,942.69                  Const. art. 16 §§ 50, 51, Texas Prop.
 Homestead                                                            $830,000.00
 353 Tavenner Lane Sunnyvale, TX 75182                                               ❑ 100% of fair market value, up          Code §§ 41.001-.002
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:           1.1

 Brief description:
                                                                                     ✔
                                                                                     ❑           $18,500.00                   Tex. Prop. Code §§ 42.001(a),
 2015 Jeep LL                                                          $18,500.00
                                                                                     ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                               to any applicable statutory limit
 Schedule A/B:           3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
        ❑✔ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                  page 1 of 4
                      Case 23-42058          Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                         Document Page 22 of 85
 Debtor 1             Edward            Roland                Hutson                                       Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑             unknown                    Tex. Prop. Code §§ 42.001(a),
 2023 Lexus GX 460                                                 unknown
                                                                              ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         3.2

 Brief description:
                                                                              ✔
                                                                              ❑            $1,225.00                   Tex. Prop. Code §§ 42.001(a),
 Living room- Sofa-$150. 3 chairs-$300. 2 end                     $1,225.00
 tables-$250. Piano-$25. Bookcase-$400.                                       ❑ 100% of fair market value, up          42.002(a)(1)
 Mirror-$100.                                                                    to any applicable statutory limit

 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $750.00                   Tex. Prop. Code §§ 42.001(a),
 Dining room- Table-$500. 6 chairs-$250.                            $750.00
                                                                              ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑            $1,125.00                   Tex. Prop. Code §§ 42.001(a),
 Table/chairs-$400. Stove-$100. Refrigerator-$100.                $1,125.00
 Dishwasher-$100. Microwave-$50. Flatware-$50.                                ❑ 100% of fair market value, up          42.002(a)(1)
 Dishes-$125. Pots &pans-$150. Glasses-$50.                                      to any applicable statutory limit

 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑            $2,930.00                   Tex. Prop. Code §§ 42.001(a),
 Miscellaneous items- Washer-$80. Dryer-$90.                      $2,930.00
 Second refrigerator-$50. Vacuum-$40. Linens-$50.                             ❑ 100% of fair market value, up          42.002(a)(1)
 Arts & crafts-$20. Stools-$200. Tread Mill-$1,500.                              to any applicable statutory limit
 Workout bike-$800. Weights-$100.

 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $295.00                   Tex. Prop. Code §§ 42.001(a),
 Bedroom #1- Bed-$150. Dresser-$75.                                 $295.00
 Nightstand-$50. Lamp-$20.                                                    ❑ 100% of fair market value, up          42.002(a)(1)
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $390.00                   Tex. Prop. Code §§ 42.001(a),
 Bedroom #2- Bed-$200. Desk-$30. Lamp-$10.                          $390.00
 Toys-$150.                                                                   ❑ 100% of fair market value, up          42.002(a)(1)
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 2 of 4
                      Case 23-42058           Doc 1     Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                         Document Page 23 of 85
 Debtor 1             Edward            Roland                Hutson                                       Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑            $1,030.00                   Tex. Prop. Code §§ 42.001(a),
 Bedroom #3 Bed-$500.Dresser-$200.                                $1,030.00
 nightstands-$100. Chairs-$200. Chest-$10.                                    ❑ 100% of fair market value, up          42.002(a)(1)
 Lamps-$20.                                                                      to any applicable statutory limit

 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $220.00                   Tex. Prop. Code §§ 42.001(a),
 Family Room- Sofa-$100. Toys-$120.                                 $220.00
                                                                              ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $250.00                   Tex. Prop. Code §§ 42.001(a),
 Office/Den- 2 desks-$200. desk chairs-$50.                         $250.00
                                                                              ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $960.00                   Tex. Prop. Code §§ 42.001(a),
 Garage/Attic- Hand tools-$150. Power tools-$200.                   $960.00
 Work bench-$50. Edger-$50. Lawn trimmer-$50.                                 ❑ 100% of fair market value, up          42.002(a)(1)
 Wet/dry vac-$50. Ladders-$50. Luggage-$60.                                      to any applicable statutory limit
 Holiday decorations-$100. Miscellaneous
 decorations-$200.

 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑              $275.00                   Tex. Prop. Code §§ 42.001(a),
 Books-$30. Paintings-$200. Framed photos-$10.                      $275.00
 Flowers-$10. Records-$25.                                                    ❑ 100% of fair market value, up          42.002(a)(1)
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                              ✔
                                                                              ❑            $1,860.00                   Tex. Prop. Code §§ 42.001(a),
 5 TV's-$760. Receiver-$400. 4 cell phones-$400.                  $1,860.00
 Computer/printers-$200. Gaming system-$100.                                  ❑ 100% of fair market value, up          42.002(a)(1)
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:         7

 Brief description:
                                                                              ✔
                                                                              ❑              $750.00                   Tex. Prop. Code §§ 42.001(a),
 Musical instruments-$150. 5 bicycles-$500.                         $750.00
 Basketball hoop-$100.                                                        ❑ 100% of fair market value, up          42.002(a)(8)
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:         9




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 3 of 4
                      Case 23-42058          Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                             Desc Main
                                                         Document Page 24 of 85
 Debtor 1             Edward            Roland                Hutson                                        Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑              $600.00                   Tex. Prop. Code §§ 42.001(a),
 Clothing                                                           $600.00
                                                                               ❑ 100% of fair market value, up          42.002(a)(5)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑              $750.00                   Tex. Prop. Code §§ 42.001(a),
 Wedding ring-$400. Sunglasses-$50.                                 $750.00
 Watches-$100. Costume Jewelry-$200.00                                         ❑ 100% of fair market value, up          42.002(a)(6)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         12

 Brief description:
                                                                               ✔
                                                                               ❑               $0.00                    Tex. Prop. Code §§ 42.001(a),
 Debtor has two dogs as family pets, sentimental                       $0.00
 value only.                                                                   ❑ 100% of fair market value, up          42.002(a)(11)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         13




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                               page 4 of 4
                  Case 23-42058                 Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                      Desc Main
                                                               Document Page 25 of 85
 Fill in this information to identify your case:

     Debtor 1           Edward                 Roland                 Hutson
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:               Eastern              District of        Texas

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 Fifth Third Bank                              Describe the property that secures the claim:                    $88,581.00             $85,000.00       $3,581.00
         Creditor’s Name
                                                       2022 Regal LS4
         PO Box 630778
         Number    Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
         Cincinnati, OH 45263-0778                     ❑ Unliquidated
         City            State     ZIP Code
                                                       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred          7/2021        Last 4 digits of account number         9    6       2    1

         Add the dollar value of your entries in Column A on this page. Write that number here:                         $88,581.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
              Case 23-42058                Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                    Desc Main
                                                         Document Page 26 of 85
Debtor 1        Edward                 Roland                   Hutson                         Case number (if known)
                First Name             Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Members First Mortgage                     Describe the property that secures the claim:                  $161,716.64          $830,000.00               $0.00
      Creditor’s Name
                                                 Homestead
      5300 Democracy Dr. #200                    353 Tavenner Lane Sunnyvale, TX 75182
      Number    Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
                                                 ❑ Unliquidated
      Plano, TX 75024
      City          State          ZIP Code
                                                 ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                   offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred        4/2018       Last 4 digits of account number         1    2    9    4

  2.3 Shellpoint Mortgage Servicing              Describe the property that secures the claim:                  $412,340.67          $830,000.00               $0.00
      Creditor’s Name
                                                 Homestead
      PO Box 10826                               353 Tavenner Lane Sunnyvale, TX 75182
      Number    Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
                                                 ❑ Unliquidated
      Greenville, SC 29603
      City            State        ZIP Code
                                                 ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                   offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred        4/2018       Last 4 digits of account number         9    6    2    6

      Add the dollar value of your entries in Column A on this page. Write that number here:                  $574,057.31

      If this is the last page of your form, add the dollar value totals from all pages.                      $662,638.31
      Write that number here:




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 2
                 Case 23-42058                 Doc 1          Filed 10/30/23 Entered 10/30/23 17:30:10                                      Desc Main
                                                               Document Page 27 of 85
 Fill in this information to identify your case:

  Debtor 1           Edward                  Roland                    Hutson
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Eastern               District of       Texas

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1                                                    Last 4 digits of account number
         Priority Creditor’s Name
                                                         When was the debt incurred?

         Number        Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
         City              State           ZIP Code      ❑ Unliquidated
         Who incurred the debt? Check one.               ❑ Disputed
         ❑ Debtor 1 only                                 Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                    ❑ Taxes and certain other debts you owe the government
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

         Is the claim subject to offset?
         ❑ No
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 14
                 Case 23-42058                 Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                      Desc Main
                                                              Document Page 28 of 85
Debtor 1           Edward                  Roland                   Hutson                            Case number (if known)
                   First Name              Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Allstate Indemnity                                                 Last 4 digits of account number                                                            $53.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         725 Canton Street
         Number            Street
                                                                         As of the date you file, the claim is: Check all that apply.
         c/o CCS
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
         Norwood, MA 02062
         City                     State                    ZIP Code
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Business Debt
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 Allstate Vehicle Property Insurance                                Last 4 digits of account number                                                          $600.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         725 Canton Street
         Number            Street
                                                                         As of the date you file, the claim is: Check all that apply.
         c/o CCS
                                                                         ❑ Contingent
                                                                         ❑ Unliquidated
         Norwood, MA 02062
         City                     State                    ZIP Code
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Business Debt
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 14
              Case 23-42058                Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                         Document Page 29 of 85
Debtor 1       Edward                   Roland               Hutson                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Amazon Capital Services Inc.                               Last 4 digits of account number         4    6    1     0                       $100,959.04
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/17/2020
      410 Terry Avenue North
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Seattle, WA 98109                                          ❑ Contingent
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 American Express                                           Last 4 digits of account number         4    0    0     2                       $323,671.71
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  5/1/2016
      200 Vesey Street
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.

      New York, NY 10285
                                                                 ✔ Contingent
                                                                 ❑
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                             priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
      Remarks: DC-21-18295




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 14
              Case 23-42058                Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                         Document Page 30 of 85
Debtor 1       Edward                   Roland               Hutson                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 American Express                                           Last 4 digits of account number         0    6    1    4                         $29,973.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2016
      PO Box 981537
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      El Paso, TX 79998-1535                                     ❑ Contingent
      City                 State                      ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 American National Bank of Texas                            Last 4 digits of account number         9    4    2    2                        $419,489.51
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      104 Regal Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ✔ Contingent
                                                                 ❑
      Forney, TX 75126
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Bizfunder LLC                                              Last 4 digits of account number                                                 $120,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      333 W 39th St. Ste. 301
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      New York, NY 10018
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 14
              Case 23-42058                Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                        Document Page 31 of 85
Debtor 1       Edward                   Roland               Hutson                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 Capital Management Services, LP                            Last 4 digits of account number                                                 $34,578.22
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      698 1/2 South Ogden Strret
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Buffalo, NY 14206-2317
      City                  State                     ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Collecting for American Express
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Capital One Financial Corp.                                Last 4 digits of account number                                                  $3,955.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/14/2016
      1680 Capital One Dr.
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Mc Lean, VA 22102-3491
                                                                 ❑ Contingent
      City                 State                      ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Captain's Cove Marina                                      Last 4 digits of account number                                                   unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      5965 Marina Dr.
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Garland, TX 75043
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Executory Contract
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 14
              Case 23-42058                 Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                          Document Page 32 of 85
Debtor 1        Edward                   Roland               Hutson                         Case number (if known)
                First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
 4.11 Credit Systems                                              Last 4 digits of account number                                                     $142.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      PO Box 1088
      Number              Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      Arlington, TX 76004
      City                       State                 ZIP Code
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Collecting for Reliant
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 De Lage Landen Financial Services                            Last 4 digits of account number                                                 $290,000.00
     Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      1111 Old Eagle School Road
      Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      Wayne, PA 19087
      City                       State                 ZIP Code
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                     priority claims
                                                                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Executory Contract
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.13 Executive Financial Enterprises Inc.                         Last 4 digits of account number                                                 $216,481.83
     Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      2001 N. Lamar Street Suite 540
      Number           Street
                                                                  As of the date you file, the claim is: Check all that apply.
       c/o James B Carroll III
                                                                  ✔ Contingent
                                                                  ❑
                                                                  ❑ Unliquidated
      Dallas, TX 75202
      City                       State                 ZIP Code
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                     priority claims
                                                                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Business Debt
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 14
              Case 23-42058                Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                          Document Page 33 of 85
Debtor 1        Edward                  Roland                Hutson                          Case number (if known)
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.14 Fastenal                                                    Last 4 digits of account number                                                    $6,852.82
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      2400 Veterans Memorial Blvd. Ste. 300
      Number          Street
                                                                 As of the date you file, the claim is: Check all that apply.
      c/o Altus Receivables Management
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      Kenner, LA 70062
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.15 Forney Fence Supply                                         Last 4 digits of account number                                                $1,485,962.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2021
      206 E US Hwy 80
      Number          Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Forney, TX 75126
                                                                 ❑ Contingent
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Vendor
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.16 Fox Capital Group, Inc.                                     Last 4 digits of account number                                                   $95,000.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      140 Broadway FL 46
      Number          Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      New York, NY 10005
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                           page 7 of 14
              Case 23-42058                Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                          Document Page 34 of 85
Debtor 1        Edward                  Roland                Hutson                          Case number (if known)
                First Name              Middle Name          Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.17 Fund Box                                                    Last 4 digits of account number                                                   $48,500.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      300 Montgmery St. Ste. 900
      Number          Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      San Francisco, CA 94104
      City                 State                      ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.18 JJ Properties Forney LLC                                    Last 4 digits of account number                                                $1,550,640.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/20/2022
      17742 Preston Road
      Number          Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ✔ Contingent
                                                                 ❑
      Dallas, TX 75252
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                             priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Executory Contract
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.19 LEGGETT CLEMONS CRANDALL, PLLC                              Last 4 digits of account number                                                      $252.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      5700 Granite Parkway, Suite 950
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Plano, TX 75024
      City                   State                    ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify attorney fees
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8 of 14
              Case 23-42058                Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                        Document Page 35 of 85
Debtor 1       Edward                   Roland               Hutson                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.20 Lowe's Credit Card Synchrony Bank                          Last 4 digits of account number         5    5    7    5                        $10,500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      140 Wekivia Springs Road
      Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Longwood, FL 32779
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                             priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.21 McCoy Corporation                                          Last 4 digits of account number         1    8    0    c                        $35,606.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/5/2022
      1600 TX-34
      Number              Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Terrell, TX 75160
                                                                 ✔ Contingent
                                                                 ❑
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                             priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 Mimco Inc                                                  Last 4 digits of account number         l    h    u    1                        $51,589.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/9/2018
      6500 Montana
      Number              Street
                                                                 As of the date you file, the claim is: Check all that apply.

      El Paso, TX 79925                                          ❑ Contingent
      City                    State                   ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Executory Contract
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 14
               Case 23-42058                   Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                           Document Page 36 of 85
Debtor 1         Edward                   Roland               Hutson                         Case number (if known)
                 First Name               Middle Name         Last Name


   Part 2:       Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                           Total claim
4.23 Newco Capital Group                                           Last 4 digits of account number         2    0    2    1                        $442,980.00
     Nonpriority Creditor’s Name
                                                                   When was the debt incurred?                 11/17/2021
      90 Broad Street Ste. 903
      Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.

      New York, NY 10004
                                                                   ✔ Contingent
                                                                   ❑
      City                      State                   ZIP Code   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.24 Packaging Corporation of America                              Last 4 digits of account number                                                 $214,623.89
     Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      9330 LBJ Freeway Ste. 810
      Number          Street
                                                                   As of the date you file, the claim is: Check all that apply.
       c/o Craig J. Luffy/Phillip D. Collins
                                                                   ✔ Contingent
                                                                   ❑
                                                                   ❑ Unliquidated
      Dallas, TX 75243
      City                      State                   ZIP Code
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
                                                                   Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.25 Shizoom Funding                                               Last 4 digits of account number                                                 $300,000.00
     Nonpriority Creditor’s Name
                                                                   When was the debt incurred?
      W 29th St # 9
      Number               Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   ❑ Contingent
      New York, NY 10001-5343
      City                 State                        ZIP Code
                                                                   ❑ Unliquidated
                                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only
                                                                   Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                              ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑
                                                                      priority claims
                                                                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt                ✔ Other. Specify Business Debt
                                                                   ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 14
              Case 23-42058                Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                         Document Page 37 of 85
Debtor 1       Edward                   Roland               Hutson                         Case number (if known)
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.26 US Dept Treasury                                            Last 4 digits of account number                                                 $730,337.32
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Po Box 979101
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Saint Louis, MO 63197-9000
      City                  State                     ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify SBA (EIDL) loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11 of 14
              Case 23-42058               Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                        Document Page 38 of 85
Debtor 1       Edward                 Roland                 Hutson                           Case number (if known)
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. Altus Receivables Management                                  On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.3 of (Check one):       ❑ Part 1: Creditors with Priority Unsecured Claims
    2400 Veterans Memorial Blvd., Ste. 300                                                       ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number       Street
                                                                  Last 4 digits of account number
    Kenner, LA 70062
    City                         State          ZIP Code
 2. Zwicker & Associates                                          On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.4 of (Check one):       ❑ Part 1: Creditors with Priority Unsecured Claims
    PO Box 797488                                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number      Street
     c/ Constance Mutong                                          Last 4 digits of account number

    Dallas, TX 75379
    City                         State          ZIP Code
 3. Michael Menton                                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.6 of (Check one):       ❑ Part 1: Creditors with Priority Unsecured Claims
    3333 Lee Pkwy Fl 8                                                                           ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number      Street
                                                                  Last 4 digits of account number
    Dallas, TX 75219-5111
    City                         State          ZIP Code
 4. James B. Carroll III                                          On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.13 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    2001 N. Lamar St. Ste. 540                                                                   ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number      Street
                                                                  Last 4 digits of account number
    Dallas, TX 75202
    City                         State          ZIP Code
 5. Bailey Brauer PLLC                                            On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.18 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    8350 N. Central Expressway STE. 650                                                          ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number       Street
     c/o Alexander Brauer                                         Last 4 digits of account number

    Dallas, TX 75206
    City                         State          ZIP Code
 6. Del Prado Dietz                                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.21 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    323 W. Hopkins Street                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                 ❑
    Number       Street
     The Young Building                                           Last 4 digits of account number

    San Marcos, TX 78666
    City                         State          ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 14
              Case 23-42058              Doc 1     Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                    Document Page 39 of 85
Debtor 1       Edward                Roland              Hutson                          Case number (if known)
               First Name            Middle Name        Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed - Additional Page
 7. Berkovich & Bouskila PLLC                                On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.23 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    80 Broad Street Suite 3303                                                              ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number       Street
                                                             Last 4 digits of account number
    New York, NY 10004
    City                         State       ZIP Code
 8. Newco Capital Group VI LLC                               On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                             Line 4.23 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
    1102 West Ave., Ste. 200                                                                ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            ❑
    Number      Street
     c/o Freedman Price & Anziani, PC                        Last 4 digits of account number

    Austin, TX 78701
    City                         State       ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13 of 14
                Case 23-42058                Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                            Document Page 40 of 85
Debtor 1          Edward                Roland                  Hutson                       Case number (if known)
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                             $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                             $0.00

                   6c.   Claims for death or personal injury while you were           6c.                             $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                         $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                      $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                             $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                             $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                             $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +              $6,512,746.34
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                           $6,512,746.34




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 14 of 14
                           Case 23-42058           Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                                  Document Page 41 of 85
 Fill in this information to identify your case:

     Debtor 1                 Edward               Roland             Hutson
                              First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)      First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                      Eastern District of Texas

     Case number                                                                                                                        ❑ Check if this is an
     (if known)                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease is for

2.1                                                                                            Boat Slip Lease
        Captain's Cove Marina                                                                  Contract to be REJECTED
        Name
        5965 Marina Dr.
        Number     Street
        Garland, TX 75043
        City                               State   ZIP Code

2.2                                                                                            Forklifts lease
        De Lage Landen Financial Services                                                      Contract to be REJECTED
        Name
        1111 Old Eagle School Road
        Number     Street
        Wayne, PA 19087
        City                               State   ZIP Code

2.3                                                                                            Commercial Lease
        JJ Properties Forney LLC                                                               Contract to be REJECTED
        Name
        17742 Preston Road
        Number     Street
        Dallas, TX 75252
        City                               State   ZIP Code

2.4                                                                                            commercial lease
        Mimco Inc                                                                              Contract to be REJECTED
        Name
        6500 Montana
        Number    Street
        El Paso, TX 79925
        City                               State   ZIP Code




Official Form 106G                                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
                  Case 23-42058                  Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                                  Desc Main
                                                              Document Page 42 of 85
 Fill in this information to identify your case:

  Debtor 1            Edward                 Roland                   Hutson
                      First Name             Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Eastern           District of        Texas

  Case number
  (if known)                                                                                                                                ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                       Texas             . Fill in the name and current address of that person.
                   Adriana Hutson
                   Name of your spouse, former spouse, or legal equivalent
                   353 Tavenner Lane
                   Number                 Street
                   Sunnyvale, TX 75182
                   City                            State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt

                                                                                                        Check all schedules that apply:
 3.1    Del Hutson Designs, LLC
        Name                                                                                            ❑ Schedule D, line
        15064 University Drive                                                                          ✔ Schedule E/F, line
                                                                                                        ❑
        Number                          Street                                                          4.4, 4.7, 4.12, 4.16, 4.17, 4.18, 4.20, 4.21, 4.23, 4.24, 4.25
        Forney, TX 75126                                                                                ✔ Schedule G, line
                                                                                                        ❑                       2.2, 2.3, 2.4
        City                                       State                                    ZIP Code

 3.2    Field & Cave Outfitters, LLC
        Name                                                                                            ❑ Schedule D, line
        353 Tavenner Lane                                                                               ✔ Schedule E/F, line
                                                                                                        ❑                            4.13
        Number                          Street
                                                                                                        ❑ Schedule G, line
        Sunnyvale, TX 75182
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                             page 1 of 1
                        Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                                  Document Page 43 of 85
 Fill in this information to identify your case:

  Debtor 1                  Edward                 Roland             Hutson
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                                Check if this is:

  United States Bankruptcy Court for the:                         Eastern District of Texas                                   ❑ An amended filing
                                                                                                                              ❑ A supplement showing postpetition
  Case number                                                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                               ✔ Not Employed
                                                                                                                               ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name              RCG , LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           319 N. Country Club Rd.
     Occupation may include student                                        Number Street                                        Number Street
     or homemaker, if it applies.




                                                                          Garland, TX 75040
                                                                           City                     State      Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1      For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $10,000.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +                $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $10,000.00                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                                 page 1
                        Case 23-42058                         Doc 1             Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                                                 Document Page 44 of 85
 Debtor 1                 Edward                       Roland                          Hutson                                        Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $10,000.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.           $1,753.92                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h. +             $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.            $1,753.92                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $8,246.08                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                $5,417.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                $5,417.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $8,246.08    +           $5,417.00         =         $13,663.08

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $13,663.08

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                     Case 23-42058          Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                Desc Main
                                                          Document Page 45 of 85
 Debtor 1            Edward             Roland                Hutson                            Case number (if known)
                     First Name         Middle Name           Last Name


   8a. Attached Statement
                                                                     Contract work

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                            $5,417.00

   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       3.   Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00

                                                                                                                                $0.00
       4.   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       5.   AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                         $5,417.00




Official Form 106I                                                   Schedule I: Your Income                                     page 3
                        Case 23-42058               Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                              Desc Main
                                                                   Document Page 46 of 85
 Fill in this information to identify your case:

  Debtor 1                  Edward                  Roland               Hutson
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                           Eastern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               14                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               12                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $3,765.76


     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                     $250.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                  $120.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                     Case 23-42058              Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                         Desc Main
                                                              Document Page 47 of 85
 Debtor 1             Edward                Roland                Hutson                                     Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                  $1,070.73

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $350.00

       6b. Water, sewer, garbage collection                                                                        6b.                   $150.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $275.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                  $1,600.00

 8.    Childcare and children’s education costs                                                                    8.                  $1,780.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $200.00

 10. Personal care products and services                                                                           10.                   $200.00

 11.   Medical and dental expenses                                                                                 11.                   $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $800.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $100.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                      $0.00

       15c. Vehicle insurance                                                                                      15c.                  $271.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $879.86
       17a. Car payments for Vehicle 1               2023 Lexus GX 460
                                                                                                                   17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                      $0.00
       17c. Other. Specify:
                                                                                                                   17d.                      $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                     Case 23-42058           Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                            Document Page 48 of 85
 Debtor 1            Edward              Roland                Hutson                                       Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                       pet food/care                                                          21.     +               $80.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $11,992.35

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $11,992.35


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $13,663.08

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $11,992.35

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                $1,670.73
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
                     Case 23-42058         Doc 1     Filed 10/30/23 Entered 10/30/23 17:30:10                 Desc Main
                                                      Document Page 49 of 85
 Debtor 1            Edward            Roland           Hutson                               Case number (if known)
                     First Name        Middle Name      Last Name




                                                                                                                          Amount


   8. Childcare and children's education costs
       tuition                                                                                                            $1,400.00
       activities                                                                                                          $300.00
       allowance                                                                                                            $80.00




Official Form 106J                                               Schedule J: Your Expenses                                     page 4
                        Case 23-42058                      Doc 1            Filed 10/30/23 Entered 10/30/23 17:30:10                                                     Desc Main
                                                                             Document Page 50 of 85
 Fill in this information to identify your case:

  Debtor 1                      Edward                      Roland                   Hutson
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                      Eastern District of Texas

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $830,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $116,979.80

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $946,979.80



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $662,638.31

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                           $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +         $6,512,746.34


                                                                                                                                                  Your total liabilities                 $7,175,384.65

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $13,663.08


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $11,992.35




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                  Case 23-42058               Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                            Document Page 51 of 85
Debtor 1            Edward                Roland                 Hutson                                            Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                               Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
                        Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                                  Document Page 52 of 85
 Fill in this information to identify your case:

  Debtor 1                  Edward                 Roland             Hutson
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Edward Roland Hutson
        Edward Roland Hutson, Debtor 1


        Date 10/30/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                        Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                                  Document Page 53 of 85
 Fill in this information to identify your case:

  Debtor 1                  Edward                 Roland              Hutson
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                          Eastern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived     Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                          From
    Number       Street                                                                 Number    Street
                                                            To                                                                            To



    City                             State ZIP Code                                     City                        State ZIP Code



                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                          From
    Number       Street                                                                 Number    Street
                                                            To                                                                            To



    City                             State ZIP Code                                     City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                     Case 23-42058             Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                             Document Page 54 of 85
Debtor 1            Edward            Roland                  Hutson                                          Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ✔ Wages, commissions,
                                                                                                       ❑
    From January 1 of current year until the                                          $42,800.00                                             $51,400.00
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ✔ Wages, commissions,
                                                                                                       ❑
                                                    bonuses, tips                     $35,000.00           bonuses, tips                     $37,800.00
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ✔ Wages, commissions,
                                                                                                       ❑
                                                    bonuses, tips                   $110,250.00            bonuses, tips                     $48,600.00
    (January 1 to December 31, 2021       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:                     Rental Income                          $43,500.00       IRA                                   $58,614.00
    (January 1 to December 31, 2022       )     Rental Income                         $108,491.00
                                   YYYY
                                                IRA                                    $70,063.00


    For the calendar year before that:
    (January 1 to December 31, 2021       )
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
                     Case 23-42058                Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                             Desc Main
                                                                Document Page 55 of 85
Debtor 1            Edward                  Roland                  Hutson                                       Case number (if known)
                    First Name              Middle Name             Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                             Dates of           Total amount paid         Amount you still owe      Was this payment for…
                                                             payment

             Fifth Third Bank                                July                          $3,308.00                $88,581.00   ❑ Mortgage
                                                                                                                                 ❑ Car
             Creditor's Name
             PO Box 630778                                   June
             Number      Street                                                                                                  ❑ Credit card
             Cincinnati, OH 45263-0778                                                                                           ❑ Loan repayment
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ✔ Other Boat
                                                                                                                                 ❑

             Members First Mortgage                          10/01/2023                    $3,212.19              $161,716.64    ✔ Mortgage
                                                                                                                                 ❑
                                                                                                                                 ❑ Car
             Creditor's Name
             5300 Democracy Dr. #200                         09/01/2023
             Number      Street                                                                                                  ❑ Credit card
             Plano, TX 75024
                                                             08/01/2023                                                          ❑ Loan repayment
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ❑ Other

             Shellpoint Mortgage Servicing                   10/01/2023                   $11,297.28              $412,340.67    ✔ Mortgage
                                                                                                                                 ❑
                                                                                                                                 ❑ Car
             Creditor's Name
             PO Box 10826                                    09/01/2023
             Number      Street                                                                                                  ❑ Credit card
             Greenville, SC 29603
                                                             08/01/2023                                                          ❑ Loan repayment
             City                   State      ZIP Code                                                                          ❑ Suppliers or vendors
                                                                                                                                 ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
                      Case 23-42058                  Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                                 Desc Main
                                                                 Document Page 56 of 85
Debtor 1             Edward                Roland                  Hutson                                          Case number (if known)
                     First Name            Middle Name             Last Name

                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                      Nature of the case                      Court or agency                                  Status of the case

                                                      lawsuit
    Case title        American Express
                      National Bank v. Edward
                                                                                             191st District Court, Dallas County,            ❑ Pending
                      Hutson aka Edward R
                                                                                             Texas
                                                                                             Court Name                                      ❑ On appeal
                      Hutson and Del Hutson
                                                                                             600 Commerce Street #691                        ✔ Concluded
                                                                                                                                             ❑
                      Designs, LLC
                                                                                             Number       Street
    Case number DC-21-18295                                                                  Dallas, TX 75202
                                                                                             City                      State     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                     Case 23-42058              Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                            Document Page 57 of 85
Debtor 1            Edward              Roland                Hutson                                          Case number (if known)
                    First Name          Middle Name           Last Name

                                                 Nature of the case                      Court or agency                               Status of the case

                                                 lawsuit
    Case title       Executive Financial
                     Enterprises Inc. as
                                                                                        44th Judicial District Court, Dallas          ❑ Pending
                     assignee of United
                                                                                        County, Texas
                                                                                        Court Name                                    ❑ On appeal
                     Parcel Services Inc. vs.
                                                                                        George allen Sr. Court Bldg                   ✔ Concluded
                                                                                                                                      ❑
                     Field & Cave Outfitters,
                     LLC and Edward R.                                                  600 Commerce
                     Hutson                                                             Number       Street

    Case number DC-22-03563                                                             Dallas, TX 75202
                                                                                        City                    State      ZIP Code


                                                 lawsuit
    Case title       McCoy Corporation v.
                     Del Hutson Designs, LLC
                                                                                        County Court at Law, Hays County, TX          ❑ Pending
                                                                                                                                      ❑ On appeal
                                                                                        Court Name
                     and Edward Hutson

    Case number 22-0180-C                                                               Number       Street
                                                                                                                                      ✔ Concluded
                                                                                                                                      ❑

                                                                                        City                    State      ZIP Code


                                                 Foreign Judgment
    Case title       Newco Capital Group VI
                     LLC VS. Del Hutson
                                                                                        86th District Court Kaufman County, TX        ❑ Pending
                                                                                                                                      ❑ On appeal
                                                                                        Court Name
                     Designs, LLC DBA Del
                     Hutson Designs; Del
                                                                                        Number       Street
                                                                                                                                      ✔ Concluded
                                                                                                                                      ❑
                     Hutson Designs LLC; Del
                     Hutson Designs
                     Manufacturing Co; (Del)                                            City                    State      ZIP Code
                     Hutson Designs; Del
                     Hutson Designs Secure
                     and Edward R. Hutson

    Case number 111392-86

                                                 lawsuit
    Case title       Packaging Corporation
                     of America v. Del Hutson
                                                                                        422nd Judicial District, Kaufman              ❑ Pending
                     Designs, LLC and
                                                                                        County, TX
                                                                                        Court Name                                    ❑ On appeal
                     Edward Hutson                                                                                                    ✔ Concluded
                                                                                                                                      ❑
    Case number 111269-422                                                              Number       Street


                                                                                        City                    State      ZIP Code



                                                                                                                                      ✔ Pending
                                                 lawsuit
    Case title       JJ Properties Forney,
                     LLC vs. Del Hutson
                                                                                        471st District Court, Collin County,          ❑
                     Designs, LLC and
                                                                                        Texas
                                                                                        Court Name                                    ❑ On appeal
                     Edward Hutson
                                                                                        2100 Bloomdale Road                           ❑ Concluded
    Case number 471-05981-2023                                                          Number       Street
                                                                                        Mckinney, TX 75071
                                                                                        City                    State      ZIP Code


                                                 lawsuit
    Case title       The American National
                     Bank of Texas vs Edward
                                                                                        86th District Court Kaufman County, TX        ❑ Pending
                                                                                                                                      ❑ On appeal
                                                                                        Court Name
                     R. Hutson

    Case number 114013-86                                                               Number       Street
                                                                                                                                      ✔ Concluded
                                                                                                                                      ❑

                                                                                        City                    State      ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
                      Case 23-42058               Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                                 Document Page 58 of 85
Debtor 1            Edward                 Roland                  Hutson                                         Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6
                      Case 23-42058               Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                                 Document Page 59 of 85
Debtor 1             Edward                 Roland                Hutson                                         Case number (if known)
                     First Name             Middle Name           Last Name

     Gifts with a total value of more than $600           Describe the gifts                                         Dates you gave       Value
     per person                                                                                                      the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                 Date you              Value
     that total more than $600                                                                                  contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                            Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
                     Case 23-42058            Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                             Desc Main
                                                            Document Page 60 of 85
Debtor 1            Edward              Roland                 Hutson                                        Case number (if known)
                    First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred             Date payment or       Amount of payment
    DeMarco Mitchell, PLLC                                                                                  transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                            8/30/2023                     $2,000.00
    1255 West 15th St., 805
    Number     Street




    Plano, TX 75075
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                              Description and value of any property transferred             Date payment or       Amount of payment
    123 Credit Counselors, Inc                                                                              transfer was made
    Person Who Was Paid
                                                                                                            09/23/2023                       $20.00
    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred             Date payment or       Amount of payment
                                                                                                            transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
                     Case 23-42058             Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                              Document Page 61 of 85
Debtor 1            Edward               Roland                Hutson                                         Case number (if known)
                    First Name           Middle Name           Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of property          Describe any property or payments               Date transfer was
                                               transferred                                received or debts paid in exchange              made

    Person Who Received Transfer


    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                          Date transfer was
                                                                                                                                          made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                  Last 4 digits of account number      Type of account or       Date account was           Last balance
                                                                                       instrument               closed, sold, moved, or    before closing or
                                                                                                                transferred                transfer
    Ennis State Bank
                                                                                     ✔ Checking
                                                                                                                 8/2023                           ($3.00)
                                                                                     ❑
    Name of Financial Institution                 XXXX– x      1    2      7

    101 N. Clay St                                                                   ❑ Savings
                                                                                     ❑ Money market
    Number      Street


                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    Ennis, TX 75119
    City                   State    ZIP Code


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
                     Case 23-42058             Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                              Document Page 62 of 85
Debtor 1            Edward               Roland                 Hutson                                        Case number (if known)
                    First Name           Middle Name            Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Who else had access to it?                 Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Financial Institution                 Name
                                                                                                                                       ❑ Yes

    Number      Street                            Number    Street



                                                  City                State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Who else has or had access to it?          Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Storage Facility                      Name
                                                                                                                                       ❑ Yes

    Number      Street                            Number    Street



                                                  City                State   ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Where is the property?                     Describe the property                     Value


    Owner's Name
                                                  Number    Street


    Number      Street

                                                  City                State   ZIP Code


    City                   State    ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 10
                     Case 23-42058            Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                                Desc Main
                                                            Document Page 63 of 85
Debtor 1            Edward              Roland                Hutson                                           Case number (if known)
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                      Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                      Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
                      Case 23-42058               Doc 1          Filed 10/30/23 Entered 10/30/23 17:30:10                              Desc Main
                                                                  Document Page 64 of 85
Debtor 1            Edward                Roland                    Hutson                                           Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Court or agency                          Nature of the case                                    Status of the case


    Case title
                                                  Court Name
                                                                                                                                                  ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Del Hutson Designs, LLC                                                                                  Do not include Social Security number or ITIN.
    Name
                                                   home decor manufacturing co.
                                                                                                              EIN:    4    7 – 2   7   6      7   6   3   2
    15064 University Drive
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Eric Paschall
                                                                                                              From 1/1/2015         To 7/15/2023
    Forney, TX 75126
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    Hutson Properties Holdings, LLC                                                                          Do not include Social Security number or ITIN.
    Name
                                                   Property holding co.
                                                                                                              EIN:    8    2 – 2   6   3      5   1   1   5
    15064 University Dr.
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Eric Paschall
                                                                                                              From 8/2017           To 7/2022
    Forney, TX 75126
    City                    State   ZIP Code

                                                    Describe the nature of the business                      Employer Identification number
    Field & Cave Outfitters, LLC                                                                             Do not include Social Security number or ITIN.
    Name
                                                   sales
                                                                                                              EIN:    8    1 – 3   5   1      2   8   9   8
    353 Tavenner Lane
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Eric Paschall
                                                                                                              From 8/2016           To 6/2021
    Sunnyvale, TX 75182
    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
                     Case 23-42058            Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                             Document Page 65 of 85
Debtor 1            Edward              Roland                    Hutson                                      Case number (if known)
                    First Name          Middle Name               Last Name

                                                  Describe the nature of the business                 Employer Identification number
     Adriana Hutson                                                                                   Do not include Social Security number or ITIN.
    Name
                                                 contract design work
                                                                                                       EIN:             –
     353 Tavenner
    Number     Street

                                                  Name of accountant or bookkeeper                    Dates business existed
                                                 Eric Paschall
                                                                                                       From 2022             To present
     Sunnyvale, TX 75182
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                  Date issued



    Name                                         MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 13
                    Case 23-42058            Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                            Desc Main
                                                          Document Page 66 of 85
 Debtor 1           Edward              Roland                Hutson                                        Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Edward Roland Hutson
        Signature of Edward Roland Hutson, Debtor 1


        Date 10/30/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 14
                        Case 23-42058              Doc 1         Filed 10/30/23 Entered 10/30/23 17:30:10                        Desc Main
                                                                  Document Page 67 of 85
 Fill in this information to identify your case:

  Debtor 1                  Edward                 Roland             Hutson
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                         Eastern District of Texas

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures Did you claim the property as
                                                                           a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                 ❑ No
    name:                 Shellpoint Mortgage Servicing
                                                                          ❑ Retain the property and redeem it.                      ✔ Yes
                                                                                                                                    ❑
    Description of
    property
                          Homestead
                          353 Tavenner Lane Sunnyvale, TX 75182
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:

    Creditor’s                                                            ❑ Surrender the property.                                 ❑ No
    name:                 Members First Mortgage
                                                                          ❑ Retain the property and redeem it.                      ✔ Yes
                                                                                                                                    ❑
    Description of
    property
                          Homestead
                          353 Tavenner Lane Sunnyvale, TX 75182
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
                     Case 23-42058            Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                             Desc Main
                                                           Document Page 68 of 85
 Debtor 1            Edward               Roland               Hutson                                         Case number (if known)
                     First Name           Middle Name           Last Name




         Additional Page for Part 1

    Creditor’s                                                       ✔ Surrender the property.
                                                                     ❑                                                           ✔ No
                                                                                                                                 ❑
    name:              Fifth Third Bank
                                                                     ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2022 Regal LS4
                                                                     ❑ Retain the property and enter into a
    securing debt:                                                          Reaffirmation Agreement.
                                                                     ❑ Retain the property and [explain]:




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                           page
                    Case 23-42058                   Doc 1     Filed 10/30/23 Entered 10/30/23 17:30:10                           Desc Main
                                                               Document Page 69 of 85
 Debtor 1            Edward                   Roland               Hutson                                       Case number (if known)
                     First Name               Middle Name           Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                            Will the lease be assumed?
    Lessor’s name:                Mimco Inc                                                                                      ✔ No
                                                                                                                                 ❑
                                                                                                                                 ❑ Yes
    Description of leased
    property:                     commercial lease

    Lessor’s name:                JJ Properties Forney LLC                                                                       ✔ No
                                                                                                                                 ❑
                                                                                                                                 ❑ Yes
    Description of leased
    property:                     Commercial Lease

    Lessor’s name:                Captain's Cove Marina                                                                          ✔ No
                                                                                                                                 ❑
                                                                                                                                 ❑ Yes
    Description of leased
    property:                     Boat Slip Lease

    Lessor’s name:                De Lage Landen Financial Services                                                              ✔ No
                                                                                                                                 ❑
                                                                                                                                 ❑ Yes
    Description of leased
    property:                     Forklifts lease

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Edward Roland Hutson
      Signature of Debtor 1


      Date 10/30/2023
            MM/ DD/ YYYY




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                     page 2
                 Case 23-42058                         Doc 1             Filed 10/30/23 Entered 10/30/23 17:30:10                                                      Desc Main
                                                                          Document Page 70 of 85

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Eastern District of Texas

In re        Hutson, Edward Roland

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $2,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,000.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
            Case 23-42058            Doc 1      Filed 10/30/23 Entered 10/30/23 17:30:10                          Desc Main
                                                 Document Page 71 of 85

B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        10/30/2023                                             /s/ Robert T DeMarco
                Date                                         Robert T DeMarco
                                                             Signature of Attorney
                                                                                             Bar Number: 24014543
                                                                                            DeMarco Mitchell, PLLC
                                                                               500 N. Central Expressway Suite 500
                                                                                                   Plano, TX 75074
                                                                                             Phone: (972) 578-1400

                                                                            DeMarco Mitchell, PLLC
                                                            Name of law firm




Date:         10/30/2023                                                  /s/ Edward Roland Hutson
                                                          Edward Roland Hutson




                                                                 Page 2 of 2
                        Case 23-42058               Doc 1        Filed 10/30/23 Entered 10/30/23  17:30:10 Desc Main
                                                                                            Check one box only as directed in this form and in
 Fill in this information to identify your case:
                                                                  Document Page 72 of 85 Form 122A-1Supp:
  Debtor 1                  Edward                 Roland              Hutson
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Eastern District of Texas                   ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from rental or other real property                                        here
                                                                                                  →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
Debtor 1
                          Case
                          Edward
                                 23-42058    Doc 1
                                        Roland
                                                                                       Filed
                                                                                          Hutson
                                                                                                10/30/23 Entered 10/30/23  17:30:10 Desc Main
                                                                                                                       Case number (if known)
                           First Name                     Middle Name                   Document
                                                                                          Last Name     Page 73 of 85
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
Debtor 1
                   Case
                   Edward
                          23-42058    Doc 1
                                 Roland
                                                              Filed
                                                                 Hutson
                                                                       10/30/23 Entered 10/30/23  17:30:10 Desc Main
                                                                                              Case number (if known)
                   First Name            Middle Name           Document
                                                                 Last Name     Page 74 of 85
Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Edward Roland Hutson
       Signature of Debtor 1

       Date 10/30/2023
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
                         Case 23-42058                 Doc 1        Filed 10/30/23 Entered 10/30/23 17:30:10                          Desc Main
 Fill in this information to identify your case:                     Document Page 75 of 85
  Debtor 1                     Edward                 Roland            Hutson
                               First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                           Eastern District of Texas


                                                                                                                  ❑ Check if this is an amended filing
  Case number
  (if known)



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                           12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
           ❑
                        this supplement with the signed Form 122A-1.
           ❑ Yes. Go to Part 2.

 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                      Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                         check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days          sign Part 3. Then submit this supplement with the signed
                                                                                                         Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                       , which is fewer
                                                                                                         Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                         exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                   are performing a homeland defense activity, and for 540
                                                                                                         days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this            If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                            page 1
               Case 23-42058          Doc 1 Filed
                                      CURRENT     10/30/23
                                               MONTHLY      Entered
                                                        INCOME      10/30/23
                                                               PAYSTUB       17:30:10
                                                                        DETAILS                    Desc Main
                                             Document Page 76 of 85
In re:   Hutson, Edward Roland (Debtor)                                         Case Number:
         Hutson, Adriana (Non-filing Spouse)                                    Chapter:       7


                                               Hutson, Edward Roland (Debtor)
Case 23-42058   Doc 1    Filed 10/30/23 Entered 10/30/23 17:30:10   Desc Main
                          Document Page 77 of 85
                        Hutson, Adriana (Non-filing Spouse)
         Case 23-42058               Doc 1       Filed 10/30/23 Entered 10/30/23 17:30:10                               Desc Main
                                                  Document Page 78 of 85
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF TEXAS
                                                            SHERMAN DIVISION

IN RE: Hutson, Edward Roland                                                          CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      10/30/2023            Signature                             /s/ Edward Roland Hutson
                                                                     Edward Roland Hutson, Debtor
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10     Desc Main
                         Document Page 79 of 85

                            Allstate Indemnity
                            c/o CCS
                            725 Canton Street
                            Norwood, MA 02062



                            Allstate Vehicle Property
                            Insurance
                            c/o CCS
                            725 Canton Street
                            Norwood, MA 02062


                            Altus Receivables
                            Management
                            2400 Veterans Memorial Blvd., Ste. 300
                            Kenner, LA 70062



                            Amazon Capital Services Inc.
                            410 Terry Avenue North
                            Seattle, WA 98109




                            American Express
                            200 Vesey Street
                            New York, NY 10285




                            American Express
                            PO Box 981537
                            El Paso, TX 79998-1535




                            American National Bank of
                            Texas
                            104 Regal Drive
                            Forney, TX 75126



                            Attorney General of the
                            United States
                            Main Justice Bldg., Rm. 5111
                            10th & Constitution Ave. N.W.
                            Washington, DC 20503
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10   Desc Main
                         Document Page 80 of 85

                            Bailey Brauer PLLC
                            c/o Alexander Brauer
                            8350 N. Central Expressway STE. 650
                            Dallas, TX 75206



                            Berkovich & Bouskila PLLC
                            80 Broad Street Suite 3303
                            New York, NY 10004




                            Bizfunder LLC
                            333 W 39th St. Ste. 301
                            New York, NY 10018




                            Capital Management Services,
                            LP
                            698 1/2 South Ogden Strret
                            Buffalo, NY 14206-2317



                            Capital One Financial Corp.
                            1680 Capital One Dr.
                            Mc Lean, VA 22102-3491




                            Captain's Cove Marina
                            5965 Marina Dr.
                            Garland, TX 75043




                            Credit Systems
                            PO Box 1088
                            Arlington, TX 76004




                            De Lage Landen Financial
                            Services
                            1111 Old Eagle School Road
                            Wayne, PA 19087
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10    Desc Main
                         Document Page 81 of 85

                            Del Hutson Designs, LLC
                            15064 University Drive
                            Forney, TX 75126




                            Del Prado Dietz
                            The Young Building
                            323 W. Hopkins Street
                            San Marcos, TX 78666



                            Executive Financial
                            Enterprises Inc.
                            c/o James B Carroll III
                            2001 N. Lamar Street Suite 540
                            Dallas, TX 75202


                            Fastenal
                            c/o Altus Receivables Management
                            2400 Veterans Memorial Blvd. Ste. 300
                            Kenner, LA 70062



                            Field & Cave Outfitters, LLC
                            353 Tavenner Lane
                            Sunnyvale, TX 75182




                            Fifth Third Bank
                            PO Box 630778
                            Cincinnati, OH 45263-0778




                            Forney Fence Supply
                            206 E US Hwy 80
                            Forney, TX 75126




                            Fox Capital Group, Inc.
                            140 Broadway FL 46
                            New York, NY 10005
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10   Desc Main
                         Document Page 82 of 85

                            Fund Box
                            300 Montgmery St. Ste. 900
                            San Francisco, CA 94104




                            Internal Revenue Service
                            Centralized Insolvency Operations
                            PO Box 7346
                            Philadelphia, PA 19101-7346



                            James B. Carroll III
                            2001 N. Lamar St. Ste. 540
                            Dallas, TX 75202




                            JJ Properties Forney LLC
                            17742 Preston Road
                            Dallas, TX 75252




                            LEGGETT CLEMONS
                            CRANDALL, PLLC
                            5700 Granite Parkway, Suite 950
                            Plano, TX 75024



                            Lowe's Credit Card Synchrony
                            Bank
                            140 Wekivia Springs Road
                            Longwood, FL 32779



                            McCoy Corporation
                            1600 TX-34
                            Terrell, TX 75160




                            Members First Mortgage
                            5300 Democracy Dr. #200
                            Plano, TX 75024
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10    Desc Main
                         Document Page 83 of 85

                            Michael Menton
                            3333 Lee Pkwy Fl 8
                            Dallas, TX 75219-5111




                            Mimco Inc
                            6500 Montana
                            El Paso, TX 79925




                            Newco Capital Group
                            90 Broad Street Ste. 903
                            New York, NY 10004




                            Newco Capital Group VI LLC
                            c/o Freedman Price & Anziani, PC
                            1102 West Ave., Ste. 200
                            Austin, TX 78701



                            Office of the Attorney General
                            Bankruptcy-Collections Division
                            Po Box 12548
                            Austin, TX 78711-2548



                            Office of the United States
                            Trustee
                            903 San Jacinto Blvd Ste 230
                            Austin, TX 78701-2450



                            Packaging Corporation of
                            America
                            c/o Craig J. Luffy/Phillip D. Collins
                            9330 LBJ Freeway Ste. 810
                            Dallas, TX 75243


                            Shellpoint Mortgage Servicing
                            PO Box 10826
                            Greenville, SC 29603
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10    Desc Main
                         Document Page 84 of 85

                            Shizoom Funding
                            W 29th St # 9
                            New York, NY 10001-5343




                            Texas Alcoholic Beverage
                            Commission
                            License and Permits Division
                            Po Box 13127
                            Austin, TX 78711-3127


                            Texas Comptroller of Public
                            Accounts
                            Bankruptcy Section
                            Po Box 13528
                            Austin, TX 78711-3528


                            Texas Workforce Commission
                            TEC Building - Bankruptcy
                            101 E 15th St
                            Austin, TX 78778-1442



                            U.S. Dept. of HUD
                            1600 Throckmorton St
                            Fort Worth, TX 76102-6600




                            U.S. Dept. of Veterans Affairs
                            Regional Office, Finance Section (24)
                            701 Clay Ave
                            Waco, TX 76799-0001



                            U.S. Small Business
                            Administration
                            150 Westpark Way Ste 130
                            Euless, TX 76040-3705



                            United States Attorney
                            110 North College Ave. Ste. 700
                            Tyler, TX 75702-0204
Case 23-42058   Doc 1   Filed 10/30/23 Entered 10/30/23 17:30:10   Desc Main
                         Document Page 85 of 85

                            US Dept Treasury
                            Po Box 979101
                            Saint Louis, MO 63197-9000




                            Zwicker & Associates
                            c/ Constance Mutong
                            PO Box 797488
                            Dallas, TX 75379
